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AO 245B (Rev. 09/19) Judgment in a Criminal Case

                                      UNITED STATES DISTRICT COURT
                                                        Southern District of Indiana

                 UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE

                                      v.
                                                                         Case Number: 1:19CR00229-001
                                                                         USM Number: 17045-028

                          MAHDE DANNON                                   William H. Dazey, Jr.
                                                                         Defendant’s Attorney



THE DEFENDANT:
☒ pleaded guilty to count 8
☐ pleaded nolo contendere to count(s) which was accepted by the court.
☐ was found guilty on count(s) after a plea of not guilty
The defendant is adjudicated guilty of these offense(s):
 Title & Section                            Nature of Offense                                         Offense Ended             Count
 18 U.S.C. §§ 2 and 2339 (B)(a)(1)          Attempting to Provide Material Support or Resources         5/15/2019                 8
                                            to a Designated Foreign Terrorist Organization

        The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒ Count(s) 1-7 dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.


                                                                           October 14, 2021
                                                                           Date of Imposition of Sentence:


                                                                           Hon. Richard L. Young, Judge
                                                                           United States District Court
                                                                           Southern District of Indiana

                                                                            10/19/2021
                                                                           Date
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                                                    IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 240 months.

☒The Court makes the following recommendations to the Bureau of Prisons:
      The defendant shall be designated to a facility as close as possible to Fishers, Indiana, so he can have visitation
      with his family.
☒The defendant is remanded to the custody of the United States Marshal.

☐The defendant shall surrender to the United States Marshal for this district:
         ☐ at
         ☐ as notified by the United States Marshal.
☐The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         ☐ before 2 p.m. on
         ☐ as notified by the United States Marshal.
         ☐ as notified by the Probation or Pretrial Services Office.


                                                         RETURN

I have executed this judgment as follows:


        Defendant was delivered on ___________________________ to ______________________________________
at ________________________________, with a certified copy of this judgment.

                                                                   ________________________________________
                                                                          UNITED STATES MARSHAL

                                                                   BY: ___________________________________
                                                                         DEPUTY UNITED STATES MARSHAL
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                                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of life.

                                                  MANDATORY CONDITIONS
    1.    You shall not commit another federal, state, or local crime.
    2.    You shall not unlawfully possess a controlled substance.
    3.    You shall refrain from any unlawful use of a controlled substance. You shall submit to one drug test within 15 days of release
          from imprisonment and at least two periodic least two periodic drug tests thereafter, as determined by the court.
                    ☒ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
                    future substance abuse. (check if applicable)
    4.    ☐ You shall make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
    5.    ☒ You shall cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
    6.    ☐ You shall comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where
          you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
    7.    ☐ You shall participate in an approved program for domestic violence. (check if applicable)

       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the conditions listed below.

                                                CONDITIONS OF SUPERVISION

    1. You shall report to the probation office in the federal judicial district to which you are released within 72 hours of
       release from the custody of the Bureau of Prisons.

    2. You shall report to the probation officer in a manner and frequency directed by the court or probation officer.

    3. You shall permit a probation officer to visit you at a reasonable time at home or another place where the officer
       may legitimately enter by right or consent, and shall permit confiscation of any contraband observed in plain view
       of the probation officer.

    4. You shall not knowingly leave the federal judicial district where you are being supervised without the permission
       of the supervising court/probation officer.

    5. You shall answer truthfully the inquiries by the probation officer, subject to your 5th Amendment privilege.

    6. You shall not meet, communicate, or otherwise interact with a person you know to be engaged, or planning to be
       engaged, in criminal activity. You shall report any contact with persons you know to be convicted felons to your
       probation officer within 72 hours of the contact.

    7. You shall reside at a location approved by the probation officer and shall notify the probation officer at least 72
       hours prior to any planned change in place or circumstances of residence or employment (including, but not limited
       to, changes in who lives there, job positions, job responsibilities). When prior notification is not possible, you shall
       notify the probation officer within 72 hours of the change.

    8. You shall not own, possess, or have access to a firearm, ammunition, destructive device or dangerous weapon.
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    9. You shall notify the probation officer within 72 hours of being arrested, charged, or questioned by a law enforcement
       officer.

    10. You shall maintain lawful full time employment, unless excused by the probation officer for schooling, vocational
        training, or other reasons that prevent lawful employment.

    11. You shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
        the permission of the court.

    12. As directed by the probation officer, you shall notify third parties who may be impacted by the nature of the conduct
        underlying your current or prior offense(s) of conviction and/or shall permit the probation officer to make such
        notifications and/or confirm your compliance with this requirement.

    13. You shall make a good faith effort to follow instructions of the probation officer necessary to ensure compliance
        with the conditions of supervision.

    14. You shall provide the probation officer access to any requested financial information and shall authorize the release
        of that information to the U.S. Attorney’s Office for use in connection with the collection of any outstanding fines
        and/or restitution.

    15. You shall submit to the search by the probation officer of your person, vehicle, office/business, residence, and
        property, including any computer systems and hardware or software systems, electronic devices, telephones, and
        Internet-enabled devices, including the data contained in any such items, whenever the probation officer has a
        reasonable suspicion that a violation of a condition of supervision or other unlawful conduct may have occurred or
        be underway involving you and that the area(s) to be searched may contain evidence of such violation or conduct.
        Other law enforcement may assist as necessary. You shall submit to the seizure of contraband found by the
        probation officer. You shall warn other occupants these locations may be subject to searches.

    16. You shall consent, at the direction of the probation officer, to having installed on your computer(s), telephone(s),
        electronic devices, and any hardware or software, systems to monitor your use of these items. Monitoring will
        occur on a random and/or regular basis. You will warn other occupants or users of the existence of the monitoring
        hardware or software. To promote the effectiveness of this monitoring, you shall disclose in advance all cellular
        phones, electronic devices, computers, and any hardware or software to the probation officer and may not access or
        use any undisclosed equipment.

    17. You shall pay the costs associated with the following imposed condition of supervised release, to the extent you are
        financially able to pay: computer/internet monitoring software. The probation officer shall determine your ability
        to pay and any schedule of payment.

I understand that I and/or the probation officer may petition the Court to modify these conditions, and the final decision to
modify these terms lies with the Court. If I believe these conditions are being enforced unreasonably, I may petition the
Court for relief or clarification; however, I shall comply with the directions of my probation officer unless or until the Court
directs otherwise. Upon a finding of a violation of probation or supervised release, I understand that the court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the condition of supervision.
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These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



 (Signed)
                           Defendant                                                        Date


                           U.S. Probation Officer/Designated Witness                        Date
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                                                 CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties in accordance with the schedule of payments set forth
in this judgment.

                      Assessment                Restitution   Fine        AVAA Assessment*              JVTA Assessment**

 TOTALS                 $100.00

☐ The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO245C) will be entered
  after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
   all nonfederal victims must be paid before the United States is paid.

       Name of Payee                  Total Loss**             Restitution Ordered                    Priority or Percentage




 Totals


☐ Restitution amount ordered pursuant to plea agreement $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
  before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
  Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

   ☐ the interest requirement is waived for the ☐ fine ☐ restitution

   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:



* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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                                                   SCHEDULE OF PAYMENTS


Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payment of $ _____ due immediately, balance due
        ☐      not later than _____, or
        ☐      in accordance with       ☐ C, ☐ D, ☐ E, or ☐ F below; or

B     ☒ Payment to begin immediately (may be combined with ☐ C, ☐ D, ☐ F or ☐ G below); or

C     ☐ Payment in equal ____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or years),
        to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal _____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or years),
        to commence ______ (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     ☐ Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ☐ If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the restitution
        ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the amount of loss, and
        the defendant's liability for restitution ceases if and when the victims receive full restitution.

G     ☐ Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐         Joint and Several

    Defendant and Co-Defendant                  Total Amount              Joint and Several Amount            Corresponding Payee
     Names and Case Numbers
     (including defendant number)




☐         The defendant shall pay the cost of prosecution.

☐         The defendant shall pay the following court cost(s): _____

☒         The defendant shall forfeit the defendant’s interest in the following property to the United States: SEE PAGE 8.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
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                                                    FORFEITURE



              •    One passport and one identification card issued by the Kingdom of Jordan in the defendant's
                   name;

              •    One United States passport and one State of Indiana driver's license in the defendant's name;

              •    One GMC Acadia, VIN 1GKKVSED4BJ263689;

              •    One BMW sedan, VIN WBAWB73587PV80262;

              •    One iPhone bearing Unique Device ID (UDID) No.
                   a141d5eb142d6c346f70249052658ffd04513ce3;

              •    One black iPhone in black Incipio case seized from the Dannon residence on May 15, 2019, and
                   logged into evidence under FBI # 1B104;

              •    One Seagate external hard drive (S/N NAA3W7M9) seized from the Dannon residence on May
                   15, 2019, and logged into evidence under FBI # 1B114;

              •    One Sony PlayStation seized from the Dannon residence on May 15, 2019, and logged into
                   evidence under FBI # 1B115;

              •    One black iPhone 7 Plus seized from the defendant on May 15, 2019, and logged into evidence
                   under FBI # 1B33;

              •    All firearms, ammunition, firearm parts, firearm accessories, knives, and any other weapons
                   seized by law enforcement during the course of the investigation of this case;

              •    Various debit cards and gift cards recovered from the defendant and seized from the Dannon
                   residence on May 15, 2019, and logged into evidence under FBI # 1B136;

              •    One research paper on the country of Syria seized from the Dannon residence on May 15, 2019,
                   and logged into evidence under FBI # 1B118;

              •    All jewelry and watches seized from the Dannon residence on May 15, 2019, and logged into
                   evidence under FBI #'s 1B109; 1B110; 1B111; and 1B138; and

              •    One Sony PlayStation 3 (Model No. CECH-2501A) seized from the Dannon residence on May
                   15, 2019, and logged into evidence under FBI # 1B36.
